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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   UNITED STATES OF AMERICA,

 9                                 Plaintiff,             CASE NO. CR15-120-JCC

10          v.
                                                          DETENTION ORDER
11   PHUONG ANH NGUYEN,

12                                 Defendant.

13

14   Offense charged:      Conspiracy to Distribute Controlled Substances; Forfeiture Allegations

15   Date of Detention Hearing:    April 27, 2015.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17   based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18   that no condition or combination of conditions which defendant can meet will reasonably assure

19   the appearance of defendant as required and the safety of other persons and the community.

20           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been charged with a drug offense, the maximum penalty of which

22   is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

23   dangerousness and flight risk, under 18 U.S.C. § 3142(e).

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 1          2.      Defendant has a lengthy criminal record that includes failures to abide by terms of

 2   supervision resulting in an active arrest warrant. He has a recent unstable residence history, lack

 3   of employment, and his background information could not be verified.

 4          3.      Defendant does not contest entry of an order of detention.

 5          4.      Taken as a whole, the record does not effectively rebut the presumption that no

 6   condition or combination of conditions will reasonably assure the appearance of the defendant as

 7   required and the safety of the community.

 8   It is therefore ORDERED:

 9      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

10          General for confinement in a correction facility separate, to the extent practicable, from

11          persons awaiting or serving sentences or being held in custody pending appeal;

12      2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

13      3. On order of the United States or on request of an attorney for the Government, the person

14          in charge of the corrections facility in which defendant is confined shall deliver the

15          defendant to a United States Marshal for the purpose of an appearance in connection with

16          a court proceeding; and

17      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

18          the defendant, to the United States Marshal, and to the United State Pretrial Services

19          Officer.

20          DATED this 27th day of April, 2015.

21

22                                                        A
                                                          Mary Alice Theiler
23                                                        United States Magistrate Judge


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